UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT ()F NEW YORK

 

X
DR. AMY WU,
Plaintiff,
seaman
-against-
l '?'YCV-[|’?{]G’?
ADVANTAGECARE PHYSICIANS, P.C.,
Defendant.
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Defendant Advantage_Care Physicians, P.C. (“Defendant” or “ACP”), by its attorneys,
Cozen O’Connor, answers the Piainti'l`i`s Complaint dated and filed S_epternber l?, 2017
(“Contplaint”) as follows:

1. Defendant admits that she Was previously employed by Defendant as an
otolaryngologisthNT surgeon, and otherwise denies knowledge or information sufficient to
form a belief as to the truth of the allegations contained in Paragraph l of the Colnplaint.

2. Det`endant admits the allegations contained in Paragraph 2 oi" the Complaint, but
avers that it is located on the 12111 floor (and not the llth iioor).

3. Pai‘agraph 3 of the Complaint purports to summarize What this is a civil action for,
to which no response is required I-lowever, to the extent a response is deemed required',
Dei"endant denies the allegations contained in Paragrapli 3.

4. Paragrapli 4 of the Compfaint purports to summarize the relief that Plaintiff seeks,
to which no response is required However, to the extent a response is deemed required,

Defendant denies the allegations contained in Paragraph 4.

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5. Paragraph 5 ot` the Complaint purports tc state legal conclusions, to which no
response is required However, to the extent a response is deemed required, Det`endant denies the
allegations contained in Paragraph 5.

6. Defendant denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph 6 of the Complaint.

7. Defendant denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph 7 of the Coinplaint.

8. Paragraph 8 of the Cornplaint purports to state legal conclusions, to which no
response is required However, to the extent a response is deemed required, Defendant denies the
allegations contained in Paragraph 8.

9. Paragraph 9 of the Complaint purports to state legal conclusions, to which no
response is required However, to the extent a response is deemed required, Defendant admits
that it conducts business in the State of New York, avers that the terms “‘substantiai” and “not
isolated” are vague_, ambiguous and undeiined', and otherwise denies the allegations contained in
Paragraph 9.

l{}. Defendant admits that ACP is a rnulti-specialty practice health care provider
serving patients in New York City and Long lsland, and that ACP focuses on patients’ health by
providing patients witli, among other things, high-quality, team-based, coordinated eare, and
otherwise denies the allegations contained in Paragraph 10 of the Complaint.

ill Defendant admits that Plaintii"i" worked for ACP in certain locations within New
York City or its boroughs, and otherwise denies the allegations contained in Paragraph ll of the

Cornplaint.

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12. Defendant denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph l2 of the Complaint.

l3. Defendant denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph 13 of the Coniplaint.

14. Defendant denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph 14 of the Complaint.

15. Defendant denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph 15 of the Complaint.

16. Defendant admits that Plaintiff began employment with ACP on or about
September 22, 2014 at a starting annual salary of $-290,000, denies knowledge or information
sufficient to form a belief as to the truth of the allegations concerning what Plaintiff purportedly
“later found,” and otherwise denies the allegations contained in Paragraph 16 of the Complaint-

17, Defendant admits that Plaintiff and ACP discussed Plaintiff’s performance on
various occasions during the course of her employment with ACP_. which included both positive
and negative feedback, and otherwise denies the allegations contained in Paragraph 17 of the
Complaint, and respectfully refers the Court to the referenced e-mail for a full and complete
recitation cf its terms.

18. Defendant denies the allegations contained in Paragraph 18 of the Complaint, _and
respectfully refers the Court to_ the referenced document for a full and complete recitation of its
terms.

19. Defendant denies knowledge or information sufficient to form a belief as to the

truth of the allegations contained in Paragraph 19 cf the Cornplaint, and avers that the terms

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"‘prior and Current doctors that practice at ACPNY,” "'highly regarded,” and “‘productive” are
vague, ambiguous and undefined.

20. Defendant denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in Paragraph 20 of the Cornplaint.

21. Paragraph 21 of the Complaint is unanswerable as written to the extent the term
“all have or currently refer to Dr. Wu” is vague and ambiguous However, to the extent a
response is deemed required1 Defendant denies the allegations contained in Paragraph 21.

22. Defendant admits that Plaintifi"s compensation was based on score card analyses
containing various objective criteria, respectfully refers the Court to the referenced score cards
for a full and complete recitation of their terms, and otherwise denies the allegations contained in
Paragraph 22 of the C-omplaint and avers that the allegations are vague and ambiguous

23. Defendant admits that Plaintiff took a leave of absence from in or around
December 2014 through l\/Iarch 20]5, denies knowledge or information sufficient to form a
belief as to the truth of the allegations concerning what Plaintiff purportedly endured or believed,
and otherwise denies the allegations contained in Paragraph 23 of the Complaint.

24. Defendant admits that Plaintiff and ACP discussed Plaintiff' s compensation on
various occasions during her employment with ACP, admits that Plaintifi"s annual base salary
was increased to $310,000 in or about May 2015, and otherwise denies the allegations contained
in Paragraph 24 of the Complaint.

25. Defendant admits that Plaintiif and ACP discussed Plaintifi” s compensation and
the nature of Plaintiff" s practice on various occasions during her employment with ACP, and
otherwise denies the allegations contained in the first and second sentences of Paragraph 25 of

the Complai-nt. The third sentence of Paragraph 25 of the Complaint purports to summarize what

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"`Plaintiff alleges,” to which no response is required However, to the extent a response is deemed
required, Defendant denies the allegations contained in the third sentence of Paragraph 25.

26. Defendant admits that the number of medical assistants and registered nurses
increased and decreased during the course of Plaintiff’ s employment with ACP, as with other
physicians at ACP, and otherwise denies the allegations contained in Paragraph 26 of the
Complaint.

2'?. Defendant admits that Dr. Arora began employment with ACP on or about June
20, 2016 at a starting base salary of $425,000, admits that Plaintiff began employment with ACP
on or about September 22, 2014 at a starting base salary of $290,000, admits that Plaintiff’s base
salary as oflunc 2016 was $372,000, denies knowledge or information sufficient to form a belief
as to the truth of the allegations concerning what Plaintiff purportedly discovered, and otherwise
denies the allegations contained in Paragraph 2? of the Complaint.

28. Defendant admits that Plaintiff and ACP discussed Plaintiff" s compensation on
various occasions during her employment with ACP,_ and otherwise denies the allegations
contained in Paragraph 28 of the Complaint.

29. Defendant admits that Plaintiff and ACP discussed Plaintiff" s compensation on
various occasions during her employment with ACP, and otherwise denies the allegations
contained in Paragraph 29 of the Complaint.

30. Defendant admits that Plaintifi` and ACP discussed Plaintiff`s compensation on
various occasions during her employment with ACP, admits that Dr. Zeitlin was supportive of
Plaintiff and that Dr. Zeitlin separated from his position as Chief Medical Oi"ficer at ACP, and

otherwise denies the allegations contained in Paragraph 30 of the Complaint.

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31. Defendant admits that Plaintiff and ACP discussed Plaintiff“s compensation, the
nature of her practiee, and her scorecards on various occasions during her employment with
ACP, and otherwise denies the allegations contained in Paragraph 3l of the Complaint and
respectfully refers the Court to the referenced documents for a full and complete recitation of
their terms.

32. Defendant admits that Plaintiff and ACP discussed Plaintiff’ s compensation, the
nature of her practice, and her scorecards on various occasions during her employment with
ACP, and otherwise denies the allegations contained in Paragraph 32 of the Cornplaint and
respectfully refers the Court to the referenced documents for a full and complete recitation of
their terms.

33. De.fendant admits that Plaintiff and ACP discussed Plaintiff`s compensation on
various occasions during her employment with ACP, and otherwise denies knowledge or
information sufficient to form a belief as to the truth of the allegations contained in Paragraph 33
of the Complaint.

34. Defendant admits that she advised at least one individual at ACP that she was
pregnant, and otherwise denies knowledge or information sufficient to form a belief as to the
truth of the allegations contained in the first and second sentences of Paragraph 34 of the
Complaint, and avers that the term “the end ot`.lanuary” is vague, ambiguous and tmdefined. 'l`he
third sentence of Paragraph 34 of the Co'mplaint is unanswerable as written to the extent that it
refers generally to "‘ACPNY” and that the terms “about such things” and “very quickly” are
vague, ambiguous and undefined However, to the extent a response is deemed required_,

Defendant denies the allegations contained in the third sentence of`Paragi'aph 34.

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35. Defendant denies knowledge or information sufficient to form a belief as to the
truth ofthe allegations contained in Paragraph 35 of the Complaint.

36. Defendant admits that Plaintiff and ACP discussed Plaintiff’s compensation, the
nature of her practice, and her scorecards on various occasions during her employment with
ACP, and otherwise denies the allegations contained in Pal'agraph 36 of the Complaint and
respectfully refers the Court to the referenced documents for a full and complete recitation of
their terms.

37. Defendant admits that Nicolle Comeforo requested to speak and did speak with
Plaintiff during Plaintifl'"s employment with ACP, and otherwise denies the allegations contained
in Paragraph 27 of the Cornplaint and respectfully refers the Court to the referenced document
for a full and complete recitation of its tcrms.

38. Defendant denies the allegations contained in Paragraph 38 of the C.omplaint.

39. Defendant denies the allegations contained in Paragraplr 39 of the Cornplaint.

40. Defendant denies the allegations contained in Paragraph 40 of the Complaint, and
avers that the tenn "‘my client” is vague, ambiguous and undetined.

41. Defendant denies the allegations contained in Paragraph 41 ot` the Complaint.

42. D.efendant admits that Plaintiff and ACP discussed certain issues, including
certain restrictive covenants and Plaintiff becoming a preferred provider at some point, and
otherwise denies the allegations contained in Paragraph 42 of the Complaint.

43. Defendant denies the allegations contained in Paragraph 43 of the Complaint.

44. Defendant denies the allegations contained in Paragraph 44 of the Complaint.

45. Defendant denies the allegations contained in Paragraph 45 of the Complaint.

46. Det`end ant denies the allegations contained in Paragraph 46 of the Complaint.

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4?. Defendant admits that Plaintiff and ACP discussed Plaintiff’s pregnancy and
Plaintit`f”s leave of absence on various occasions during her employment with ACP, and
otherwise denies the allegations contained in Paragraph 47 of the Complaint, and respectfully
refers the Court to the referenced documents for a full and complete recitation of their terms.

48. Defendant denies the allegations contained in Paragraph 48 of the Complaint.

49. Defendant admits that Plaintiff and ACP discussed Plaintiff`s pregnancy and the
nature of her work on various occasions during her employment with ACP, and otherwise denies
the allegations contained in Paragraph 49 of the Cornpiaint, and respectfully'refers the Court to
the referenced documents for a full and complete recitation of their terms.

50. Defendant admits that Plaintiff and ACP discussed Plaintiff s pregnancy and the
nature of her work on various occasions during her employment with ACP, and otherwise denies
the allegations contained in Paragraph 50 of the Complaint, and respectfully refers the Court to
the referenced documents for a full and complete recitation of their terms.

51. Defendant denies the allegations contained in Paragraph 51 of the Cornplaint.

52. Defendant admits that ACP received a demand letter from an attorney purporting
to represent Plaintiff, avers that Paragraph 52 of the Complaint is generally inappropriate and
should be stricken from the Complaint, avers that the term "substantial” is vague, ambiguous and
undetined, and otherwise denies the allegations contained in Paragraph 52 of the Complaint.

53. Defendant admits that Plaintiff and ACP discussed Plaintiff"s pregnancy and her
leave of absence on various occasions during her employment with ACP, and otherwise denies
the allegations contained in Paragraph 53 of the Complaint.

54. Defendant admits that Plaintiff and ACP discussed the nature of her work on

various occasions during her employment with ACP, and otherwise denies the allegations

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contained in Paragraph 54 of the Complaint, and respectfully refers the Court to the referenced
documents for a full and complete recitation of their terms.

55. Defendant denies the allegations contained in Paragraph 55 of the Complaint.

56. Defendant admits that ACP terminated Plaintiff's employment, but denies
knowledge or information sufficient to form a belief as to the truth of the allegations concerning
Plaintiff’s` purported complicated delivery or what Plaintiff may have pinportedly required, and
otherwise denies the allegations contained in Paragraph 56 of the Complaint.

57. Defendant admits that ACP sent a letter of termination to Plaintiff, and otherwise
denies knowledge or information sufficient to form a belief as to the truth of the allegations
contained in Paragraph 57 of the Complaint.

58. Defendant admits that, as of the time that ACP sent a letter of termination to
Plaintiff, Plaintiff was on a leave of absence and ACP had received a demand letter from an
attorney purporting to represent Plaintiff, denies knowledge or information sufficient to form a
belief as to the truth of the allegations concerning whether and when Plaintiff filed an EEOC
charge, and otherwise denies the allegations contained in Paragraph 58 of the Complaint.

59. Defendant repeats each and every response to Paragraphs l through 58 as if set
forth fully herein.

60. Paragraph 60 of the Complaint purports to state conclusions of law, to which no
response is required However, to the extent a response is deemed required, Defendant denies the
allegations contained in Paragraph 60.

61. Defendant admits that ACP employed Plaintiff for a period of time, and otherwise

denies the allegations contained in Paragraph 61 of the Complaint.

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62. Paragraph 62 of the Complaint purports to state conclusions of law, to which no
response is required However, to the extent a response is deemed required, Defendant admits
that Plaintiff advised at least one individual of her pregnancy, and otherwise denies knowledge
or information sufficient to form a belief as to the truth of the allegations contained in Paragraph
62.

63. Defendant admits that, upon information and belief, certain individuals at ACP
had knowledge that Plaintiff is a female and that Plaintiff was pregnant at some point, and
otherwise denies the allegations contained in Paragraph 63 of the Complaint, and avers that the
term “[a]t all relevant times" is vague, ambiguous and undefined

64. Defendant denies the allegations contained in Paragraph 64 of the Complaint..

65. Defendant denies the allegations contained in Paragraph 65 of the Complaint.

66. Defendant denies the allegations contained in Paragraph 66 of the Complaint.

6?. Defendant denies knowledge or information sufficient to form a belief as to the
truth of the allegations concerning what Plaintiff purportedly believed, and otherwise denies the
allegations contained in Paragraph 6'?` of the Cornplaint.

68. Defendant denies the allegations contained in Paragraph 68 of the Cornplaint.

69. Defendant denies the allegations contained in Paragraph 69 of the Complaint.

70. Defendant denies the allegations contained in Paragraph 20 of the Complaint.

'i'l. Defendant denies the allegations contained in Paragraph ?l of the Complaint.

?2. Defendant denies the allegations contained in Paragraph 72 of the Complaint.

?3. Defendant denies the allegations contained in Paragraph 23 of the Com_plaint.

74. Defendant denies the allegations contained in Paragraph 74 of the Complaint.

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75. Dei`endant repeats each and every response to Paragraph_s 1 through ?'4 of the
Complaint as if set forth fully herein.

?`6. Paragraph '}'6 of the Complaint purports to summarize the nature of the second
count, to Which no response is required l-iowever, to the extent a response is deemed required,
Defendant denies the allegations contained in Paragraph 76.

??. Defendant admits that ACP employed Plaintiff for a period of tinie, and otherwise
denies the allegations contained in Paragraph 77 of the Complaint.

7'8. Defendant admits that Plaintiff was employed by ACP for a period of time, and
otherwise denies the allegations contained in Paragraph 78 of the Complaint.

'/`9. Paragraph 79 of the Cornplaint ptu'p_orts to state conclusions of law, to which no
response is required However, to the extent a response is deemed required, Defendant admits
that Plainti_ff advised at least one individual of her pregnancy, and otherwise denies knowledge
or information sufficient to form a belief as to the truth of the allegations contained in Paragraph
79.

80. Defendant admits that, upon information and belief, certain individuals at ACP
had knowledge that Plaintiff is a female and that Plaintiff was pregnant at some point, and
otherwise denies the allegations contained in Paragraph 80 of the Cornplaint, and avers that the
term “[a]t all relevant times” is vague, ambiguous and undefined

81. Defendant denies the allegations contained in Paragraph 81 of the Complaint.

82. Defend ant denies the allegations contained in Paragraph 82 of the Cornplaint.

83. Defendant denies the allegations contained in Paragraph 83 of the Complaint.

84. Defendant denies the allegations contained in Paragraph 84 of the Complaint.

85 . Det`endant denies the allegations contained in Paragrapli 85 of the Compiaint.

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86. Defendant denies the allegations contained in Paragraph 86 of the Complaint.

8?. Defendant repeats each and every response to Paragraphs 1 through 86 of the
Complaint as if set forth fully herein.

88. Paragraph 88 of the Cornplaint purports to summarize the nature of this action, to
which no response is required I-Iowever, to the extent a response is deemed required, Defendant
denies the allegations contained in Paragraph 88.

89. Defendant admits that ACP employed Plaintiff for a period of time, and otherwise
denies the allegations contained in Paragraph 89 of the Complaint.

90. Defendant admits that Plaintiff is a person, and otherwise denies the allegations
contained in Paragraph 90 of the Complaint.

9l. Defendant admits that Plaintiff Was employed by ACP for a period of time, and
otherwise denies the allegations contained in Paragraph 9l of the Complaint.

92. Paragraph 92 of the Complaint purports to state conclusions of law, to which no
response is required However, to the extent a response is deemed required, Defendant admits
that Plaintiff advised at least one individual of her pregnaney, and otherwise denies knowledge
or information sufficient to form a belief as to the truth of the allegations contained in Paragraph
92.

93. Defendant admits that, upon information and belief_. certain individuals at ACP
had knowledge that Plaintiff is a female and that Plaintiff was pregnant at some point, and
otherwise denies the allegations contained in Paragraph 93 of the Cornplaint_, and avers that the
term “[a]t ali relevant times” is vague, ambiguous and undefined

94. Defendant denies the allegations contained in Paragraph 94 of the Complaint.

95. Defendant denies the allegations contained in Paragraph 95 of the Cornplaint.

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96. Defendant denies the allegations contained in Paragraph 96 of the Complaint.

97. Defendant denies the allegations contained in Paragraph 9? of the Complaint.

98. Defendant denies the allegations contained in Paragraph 98 ofthe C`omplaint.

99. Defendant denies the allegations contained in Paragraph 99 of the Complaint.

lOU. Det`endant repeats each and every response to Paragraphs l through 99 as if set
forth fully herein.

101. Paragraph 101 of the Complaint purports to state conclusions of law, to which no
response is required However, to the extent a response is deemed required Defendant denies the
allegations contained in Paragraph 101.

102. Defendant denies the allegations contained in Paragraph 102 of the Complaint.

103. Defendant denies the allegations contained in Paragraph 103 of the Complaint.

104. Defendant denies the allegations contained in Paragraph 104 of the Cornplaint.

105. Defendant denies the allegations contained in Paragraph 105 of the Complaint.

106. Defendant denies the allegations contained in Paragraph 106 of the Complaint.

10';’. Defendant denies the allegations contained in Paragraph 10? of the Compiaint.

108. Defendant denies the allegations contained in Paragraph 108 of the Complaint.

109. Defendant denies the allegations contained in Paragraph 109 of the Complaint.

11{}. Defendant denies the allegations contained in Paragraph 110 of the Complaint.

il l. Defendant denies the allegations contained in Paragraph l 11 of the Complaint.

112. Defendant repeats each and every response to Paragraphs l through 111 of the
C`omplaint as if set forth fully herein.

113. Det`endant denies the allegations contained in Paragraph 113 of the Complaint.

114. Defendant denies the allegations contained in Paragraph 114-of the Cornplaint.

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115. Defendant repeats each and every response to Paragraphs 1 through 114 of the
Complaint as if set forth fully herein.

116. Defendant denies the allegations contained in Paragraph 116 of the Complaint.

117. Defendant denies the allegations contained in Paragraph 117 of the Cornplaint,
and avers that the term “si`milarly situated male doetors” is vague, ambiguous and undefined

118. Defendant denies the allegations contained in Paragraph 118 of the Cornplaint,
and avers that the term "‘sitnilarly situated male doctors” is vague, ambiguous and undefined

119. Defendant denies the allegations contained in Paragraph 119 of the Complaint.

120. Del"endant denies the allegations contained in Paragraph 120 of the Complaint,
and avers that the term “her male colleagues” is vague, ambiguous and undefined

121. Defendant denies the allegations contained in Paragraph 121 of the Compiaint.

122. Defendant denies the allegations contained in Paragraph 122 of the Complaint.

123. Der`endant denies the allegations contained in Paragraph 123 of the Complaint.

124. Det`endant denies the allegations contained in Paragraph 124 of the Complaint.

125_. Det`endant denies the allegations contained in Paragraph 125 of the Complaint.

126. Defendant denies the allegations contained in Paragrapli 126 ot` the Complaint.

12'?. Defendant denies the allegations contained in Pa.ragraph 12? of the Complaint.

128. Defendant repeats each and every response to Paragraphs 1 through 127 of the
Cornplaint as if set forth hally herein.

129. Det`endant admits that Plaintiff Was employed by ACP for a period of time, and
otherwise denies the allegations contained in Paragraph 129 of the Complaint.

130. Defendant admits that ACP employed Plaintil"l" for a period ol" time, and otherwise

denies the allegations contained in Paragraph 130 of the Coinplaint.

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131. Paragraph 131 (and a paltial footnote l) of the Complaint purports to quote a
portion of the New York Labor Law, to which no response is required However. to the extent a
response is deemed required Det`endant denies the allegations contained in Paragraph 131 of the
Colnplaint, and respectfully refers the Court to the referenced statutory section for a l`ull and
complete recitation of its terms

132. Del"endant denies the allegations contained in Paragraph 132 of the Complaint,
and avers that the tenn “"Plaintiff’s male comparative doctors” is vague, ambiguous and
undefined

133. Defendant denies the allegations contained in Paragraph 133 of the Cornplaint.

134. Det`endant denies the allegations contained in Paragraph 134 of the Complaint,
and avers that the term “her male counterpart doctors” is vague, ambiguous and undefined

135. Defendant denies the allegations contained in Paragraph 135 of the Complaint.

136. Det`endant repeats each and every response to Paragraphs 1 through 135 ol" the
Complaint as if set forth fully herein.

13?. Defendant admits that Plaintifl" is a person, and otherwise denies the allegations
contained in Paragraph 1317 of the Complaint.

138. Del`endant admits that PlaintifiC was employed by ACP for a period of time, and
otherwise denies the allegations contained in Paragraph 138 of the Coinplaint.

139. Defendant admits that ACP employed Plaintift` for a period of time, and otherwise
denies the allegations contained in Paragraph 139 of the Cornplaint.

140. Paragraph 140 of the Cornplaint purports to summarize a portion of the FLSA and
a portion of a particular judicial decision, to which no response is required l-lowever, to the

extent a response is deemed required Dei`endant denies the allegations contained in Paragraph

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140, and respectfully refers the Court to the referenced statute and decision for a full and
complete recitation of their terms

141. Defendant denies the allegations contained in Paragraph 141 of the Complaint.

142. Defendant denies the allegations contained in Paragraph l42 of the Complaint.

143. Defendant denies the allegations contained in Paragraph 143 of the Complaint.

144. Defendant denies the allegations contained in Paragraph 144 of the Complaint.

145. .Defendant denies the allegations contained in Paragraph 145 of the Complaint.

146. Defendant denies the allegations contained in Paragraph 146 of the Cornplaint.

14?. Defendant denies the allegations contained in Paragraph 14? of the Complaint,
and avers that the term "`conduct as aforesaid” is vague, ambiguous and undefined

148. Del"endant denies the allegations contained in Paragraph 148 of the Cornplaint.

149. Defendant repeats each and every response to Paragraphs l through 148 ol" the
Cornplaint as if set forth fully herein.

150. Defendant admits that Plaintiff was employed by ACP for a period of time, and
otherwise denies the allegations contained in Paragraph 150 of the Complaint.

151. Defendant admits that ACP employed Plaintiff for a period of time, and otherwise-
denies the allegations contained in Paragraph 151 of the Coinplaint.

152. Defendant denies the allegations contained in Paragraph 152.

153. Defendant denies the allegations contained in Paragraph 153 of the Complaint,
and avers that the term “her male comparatives” is vague, ambiguous and undefined

154. Defendant denies the allegations contained in Paragraph 154.

155. Defendant denies the allegations contained in Paragraph 155.

156. Defendant denies the allegations contained in Paragraph 156.

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157. Defendant denies the allegations contained in Paragraph 15?.

158. Defendant denies the allegations contained in Paragraph 158.

159. Paragraph 159 of the Complaint purports to summarize what Plaintiff demands, to
which no response is required l-Iowever, to the extent a response is deemed required Defendant
denies the allegations contained in Paragrapli 159.

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FIRST AFFIRMATIVE DEFENSE
160. 'l`he Cornplaint, and each and every claim contained therein, fails to state a claim
upon Which relief may be granted against Defendant.
SECOND AFFIRMATIVE DEFENSE
161. All of Defendant’s employment-related actions toward Plaintiff Were lawful and
based upon bonajide, legitimate business objectives
THIRD AFFIRNIATIVE DEFENSE
162. The Complaint fails to state a claim for which punitive damages, liquidated
damages andfor attorneys’ fees may be awarded
FOURTH AFFIRMATIVE DEFENSE
163. Plaintiff’s claims for damages must be dismissed or reduced because ofher failure
to mitigate her damagesl
FIFTH AFF!RMATIVE DEFENSE
164 To the extent Plaintiff alleges and proves any harassing or discriminatory conduct
on the part of Det`endant, Defcndant exercised reasonable care to prevent and promptly correct

any harassing or discriminating behavior in the workplace, and Plaintiff unreasonably failed to

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take advantage of any preventive or corrective opportunities provided by Defendant, or to
otherwise avoid harm.
SIXTH AFFIRMATIVE DEFENSE

165. All or part of PIain'tiff’ s claims are barred by the doctrines of laches, estoppel

andfor unclean hands
SEVENTH AFFIRMATIVE DEFENSE

166. To the extent a motivating favor standard applies in this action, even if alleged
discrimination was a motivating factor in any employment-related decision, the same decision
would have been made even in the absence of discrimination

EIGHTH AFFIRMATIVE DEFENSE

16?. Defendant is not liable to Plaintiff for any alleged acts because it did not

encourage, condone, or approve of any alleged discriminatory acts
NINTH AFFI RMATIVE I)EFENSE

16'8. To the extent Plaintiff alleges and proves that Defendant is liable based solely on
the conduct of an employee, agent, or independent contractor, prior to any alleged discriminatory
conduct for which it is held Iiable, Det`endant had (pursuant to § 8-107[13] of the New York City
Administrative Code): (i) Established and complied with policies programs and procedures for
the prevention and detection of unlawful discriminatory practices by employees, agents and
persons employed as independent contractors; and (ii) A record of no, or relatively few, prior
incidents of discriminatory conduct by such employee, agent or person employed as an
independent contractor or other employees agents or persons employed as independent

contractors

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TENTI-I AFFIRMATIVE DEFENSE
169. Plaintiff failed to comply With any and all conditions precedent required under the
New York City Administrative Code prior to commencing this action.
ELEVENTH AFFIRMATIVE DEFENSE
170. Plaintiff fails to state a claim for employer liability under Section 8-10?r of the
New York City Administrative Code.
TWELFTI-I AFFIRMATIVE DEFENSE
l?l. Any alleged pay differential between Plaintiff and a similarly situated male
employee was based on a seniority system, a merit system, a pay system based on quantity or

quality of output, andfor any factor other than sex.

WHEREFORE, Defendant demands that the Complaint be dismissed and that the Court
grant Defendant its costs, disbursements and attorneys’ fees, and such other and further relief as

the Court deems just and proper.

Dated: New York, New York
OCtober 17, 2017

COZEN O’CONNOR
Attorneys for Defendant

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